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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP, et al.,

        Plaintiffs,                                                Case No. 1:20-cv-1141

 v.                                                                HON. JANET T. NEFF

 GRETCHEN WHITMER, et al.,

        Defendants.

 ____________________________

 STATE OF MICHIGAN, et al.,

        Plaintiffs,
                                                                   Case No. 1:20-cv-1142
 v.
                                                                   HON. JANET T. NEFF
 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP, et al.,

        Defendants.

 ____________________________/


                                            ORDER

       Having reviewed the parties’ March 16, 2021 Joint Notice (ECF No. 18, ECF No. 1:20-cv-

1141; ECF No. 23, ECF No. 1:20-cv-1142),

       IT IS HEREBY ORDERED that this matter is submitted to facilitative mediation with

the parties’ chosen mediator, Gerald Rosen, and an initial mediation session on April 16, 2021.




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       IT IS FURTHER ORDERED that the parties shall, not later than 7 days after the initial

mediation session, file a Joint Notice estimating the time needed to complete mediation.


Dated: March 18, 2021                                        /s/ Janet T. Neff
                                                           JANET T. NEFF
                                                           United States District Judge




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